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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


DANELL SMITH,

          Petitioner,                                        Civil No. 04-70961
v.                                                           Crim. No. 00-80762

UNITED STATES OF AMERICA,                                    Honorable John Corbett O’Meara

          Respondent.
                                         /

                  ORDER DENYING SUPERSEDING APPLICATION FOR
                         CERTIFICATE OF APPEALABILITY

       On January 28, 2005, petitioner Danell Smith filed a second motion to vacate sentence under

28 U.S.C. § 2255. The government filed a response April 4, 2005.

       In his second motion Petitioner relies in part on the recent decision of the United States

Supreme Court in Booker v. Washington, 124 S. Ct. 2531 (2005). Petitioner Smith's reliance is

unfounded, however. The Court in Booker explicitly provided that its holding was to apply only "to

all cases on direct review." Id. at 769. The United States Court of Appeals for the Sixth Circuit has

held that the Booker ruling is not retroactive to cases on post-conviction review. Humphress v.

United States, 398 F.3d 855, 860-63 (6th Cir. 2005).

       In addition, the court must deny Smith's second § 2255 motion because he failed to follow the

procedure for filing a successive motion. Title 28 U.S.C. § 2244(b)(3) provides,

                Before a second or successive application permitted by this section
                is filed in the district court, the applicant shall move in the
                appropriate court of appeals for an order authorizing the district court
                to consider the application.
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     In this case petitioner Smith neither sought nor obtained the Sixth Circuit's authorization to

file this petition. Therefore, is it hereby ORDERED that petitioner Danell Smith's successive §

2255 motion is DENIED.



                s/John Corbett O'Meara
                John Corbett O'Meara
                United States District Judge


Dated: May 5, 2005




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